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                Exhibit 1
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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


   INDUSTRIA DE ALIMENTOS ZENÚ S.A.S.
   Plaintiff,

   v.                                                           Civil Action No: 2:16-cv-06576
                                                                (KM) (MAH)
   LATINFOOD U.S. CORP. d/b/a ZENÚ PRODUCTS
   CO. and WILSON ZULUAGA,

                                  Defendants.



    PLAINTIFF’S RESPONSE TO DEFENDANTS’ FIRST SET OF INTERROGATORIES

           Plaintiff Industria de Alimentos Zenú S.A.S. (“Plaintiff”), by its attorneys, Reed Smith

   LLP, pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure and the applicable

   Local Rules of this Court, hereby responds to the First Set of Interrogatories (the

   “Interrogatories”) of Defendants Latinfood U.S. Corp. d/b/a Zenú Products Co. (“Latinfood) and

   Wilson Zuluaga (collectively “Defendants”), as follows:

                                        GENERAL OBJECTIONS

           These General Objections form a part of and are incorporated into each response. The

   absence of a reference to a General Objection should not be construed as a waiver of the General

   Objections to a specific Interrogatory.

        A. Plaintiff objects to each Interrogatory to the extent that it exceeds the permissible scope

   of discovery under Rules 26 and 33 of the Federal Rules of Civil Procedure or the Local Rules of

   this Court, including the limitation to 25 written Interrogatories, including all discrete subparts,

   found in Fed. R. Civ. P. 33(a)(1).

        B. Plaintiff objects to each Interrogatory to the extent that it seeks the disclosure of

   information protected by the attorney-client privilege both under federal law and pursuant to
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   N.J.S.A. 2A:84-A-20, the work-product doctrine and/or other applicable privileges or

   immunities, or that were prepared in anticipation of litigation and/or constitute or disclose the

   mental impressions, conclusions, opinions, or legal theories of any attorney or other

   representative of Plaintiff concerning this or any other legal proceeding. Such information

   and/or documents shall not be provided in response hereto. Inadvertent disclosure of the same

   shall not be deemed a waiver of any applicable privilege or of the protection of the attorney work

   product doctrine, and Plaintiff reserves the right to request the return of any such documents

   inadvertently produced.

       C. Plaintiff objects to each Interrogatory to the extent that it seeks the disclosure of

   information not in Plaintiff’s possession, custody or control.

       D. Plaintiff objects to each Interrogatory to the extent that it seeks the disclosure of

   information already or equally within Defendants’ possession, custody or control, or is publicly

   available, or to the extent that it seeks information that could be obtained from some other source

   that is more convenient, less burdensome, or less expensive.

       E. Plaintiff objects to each Interrogatory to the extent that it is overbroad, unduly

   burdensome or oppressive, unreasonably cumulative or duplicative.

       F. Plaintiff objects to each Interrogatory to the extent that it seeks information from a time

   period irrelevant to this litigation.

       G. Plaintiff objects to each Interrogatory to the extent that it is vague or ambiguous.

       H. Plaintiff objects to each Interrogatory to the extent that it seeks a legal conclusion to

   which no response is required.




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      I. Plaintiff objects to each Interrogatory to the extent that it seeks information which is not

   relevant to the claim or defense of any party or reasonably calculated to lead to the discovery of

   admissible evidence.

      J. Plaintiff objects to each Interrogatory to the extent it assumes disputed issues of fact or

   law.

      K. Plaintiff objects to Defendants’ definition of “Plaintiff” to include counsel for Plaintiff, as

   counsel does not maintain business records or non-privileged materials for Defendants. Plaintiff

   Industria de Alimentos Zenú will provide documents and information from any parent,

   subsidiary, principal, officer, director, employees or staff members.

      L. Plaintiff objects to Defendants’ definition of “control” to include counsel for Plaintiff, as

   counsel does not maintain business records or non-privileged materials for Defendants. Plaintiff

   Industria de Alimentos Zenú will provide documents and information from any parent,

   subsidiary, principal, officer, director, employees or staff members.

      M. Plaintiff objects to Defendants’ definition of “Plaintiff’s Marks” as encompassing all

   designations and trademarks used by “Plaintiff” (the defined term to include all subsidiaries,

   parents, partners or other affiliates of Industria de Alimentos Zenú S.A.S.) because it is overly

   broad and encompasses numerous marks and brands that are not the subject of this litigation.

   Plaintiff will only provide documents and information pertaining to the ZENÚ and RANCHERA

   designations or trademarks.

      N. Plaintiff objects to the Interrogatories to the extent that they seek information or

   documents already provided to Defendants in connection with the proceeding before the

   Trademark Trial and Appeal Board, Proceeding No. 92059947. As set forth by Magistrate Judge




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   Hammer in the scheduling conference on April 5, 2017, such duplicative discovery should be

   avoided.

      O. Plaintiff objects to each Interrogatory on the grounds that Plaintiff is responding on the

   basis of current knowledge and information, and as discovery proceeds in this case, discovery

   may reveal additional facts. Accordingly, Plaintiff reserves the right to supplement each of its

   answers to these requests and to assert additional objections. However, Plaintiff does not hereby

   assume any obligation to supplement its answers any further than is otherwise required.

      P. Any failure to object to any Interrogatory on a particular ground shall not be construed as

   a waiver of its right to object on that or any other additional grounds. The statement of any

   specific objection in any specific response below shall in no way waive or prejudice Plaintiff’s

   assertion of its General Objections and Responses.

      Q. Plaintiff’s responses are made without waiver, and with preservation of, all objections as

   to competency, relevancy, materiality, privilege, and admissibility of the responses and the

   subject matter thereof as evidence for any purposes in any part of this action or in any other

   action or proceeding.

                                         INTERROGATORIES

           Plaintiff incorporates by reference its General Objections in response to each of the

   Defendants’ Interrogatories set forth below. Expressly reserving its right to amend and

   supplement its responses to any and all of these Interrogatories, Plaintiff makes the following

   responses while reserving the right to make additional objections as may be deemed appropriate

   during the course of these proceedings:



      1.      Identify all current officers and directors of Plaintiff.




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   Response:

            Plaintiff objects to this Interrogatory as overly broad, unduly burdensome, and seeking

   information not reasonably calculated to lead to the discovery of admissible evidence. Plaintiff

   further objects to this Interrogatory to the extent that it seeks information already produced to

   Defendants in connection with the proceeding before the Trademark Trial and Appeal Board,

   Proceeding No. 92059947. Plaintiff further objects to this Interrogatory as the term “officer” has

   no meaning under Columbian law. Colombian corporations have no officers, and there is no

   comparable term under Columbian law. Subject to the foregoing objections and the General

   Objections, Plaintiff states that the following individuals are in charge of running the company:

                  Diego Medina, President of meat business;
                  Santiago Jiménez, Director of Supply Chain;
                  Luis Ignacio Salazar, Commercial Manager;
                  Mateo Betancur, Planning Manager;
                  María del Carmen Estrada, Human and Organizational Development Manager.


       2.       Describe in detail all past and existing relations, including contracts, agreements,

   licenses, assignments, or other relations, between Plaintiff and any third party, including

   predecessor companies, related, or affiliated companies, relating in any manner to Plaintiff’s

   Marks, specifically in relation with entities within the United States.

   Response:

       Plaintiff objects to this Interrogatory as vague, ambiguous, and not susceptible to a reasoned

   interpretation. Plaintiff further objects to this Interrogatory as overly broad, unduly burdensome,

   not reasonably limited in scope, and seeking, in part, information not reasonably calculated to

   lead to the discovery of admissible evidence. Plaintiff further objects to this Interrogatory for its

   use of “Plaintiff’s Marks” as it is overbroad and encompasses a large number of brands not at

   issue in this litigation.



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       3.         With respect to Plaintiff’s Marks, identify the person or persons most knowledgeable

   about Plaintiff’s sales, advertising and sales promotion, adoption and use, licensing, and

   assignment or other transfer of rights, separately for the United States and other international

   territories.

   Response:

       Plaintiff objects to this Interrogatory as compound and rendering Defendants’ Interrogatories

   to be in excess of the limit contained in Fed. R. Civ. P. 33(a)(1). Plaintiff objects to this

   Interrogatory as vague, ambiguous, not susceptible to a reasoned interpretation. Plaintiff further

   objects to this Interrogatory as overly broad, unduly burdensome, not reasonably limited in

   scope. Plaintiff further objects to this Interrogatory for its use of “Plaintiff’s Marks” as it is

   overbroad and encompasses a large number of brands not at issue in this litigation. Plaintiff

   further objects to this Interrogatory to the extent that it seeks information already produced to

   Defendants in connection with the proceeding before the Trademark Trial and Appeal Board,

   Proceeding No. 92059947.

       Subject to the foregoing objections and the General Objections, Plaintiff identifies Luis

   Ignacio Salazar Naranjo, Commercial Manager, Industria de Alimentos Zenú S.A.S.



       4.         State in detail and identify any related documents, relating to Plaintiff’s reason(s) for

   allowing Plaintiff’s Cancelled Marks to become abandoned or lapsed with the United States

   Patent and Trademark Office and the basis for Plaintiff’s decision to refile Plaintiff’s ZENÚ

   Application.

   Response:

       Plaintiff objects to this Interrogatory as vague, ambiguous and not susceptible to a reasoned

   interpretation. Subject to the foregoing objections and the General Objections, Plaintiff states


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   that no information or documents responsive to this request exist, whether privileged or

   otherwise.



       5.       For each of the goods or services sold by Plaintiff or one of its affiliated businesses,

   separately for the United States and in other international territories, set forth the number of units

   and dollar amount of the annual sales of such goods or services, the dollar amount of annual

   advertising expenditure on such goods or services, the media via which such advertising took

   place, and the dollar amount of advertising through each such media; and identify documents

   sufficient to support your response to this Interrogatory.

   Response:

       Plaintiff objects to this Interrogatory as compound thereby rendering Defendants’

   Interrogatories to be in excess of the limit contained in Fed. R. Civ. P. 33(a)(1). Plaintiff objects

   to this Interrogatory as overly broad, unduly burdensome and not reasonably limited in time or

   scope. Plaintiff further objects to this Interrogatory as seeking information that is not relevant to

   this action, immaterial, or not reasonably calculated to lead to the discovery of admissible

   evidence in this action. Plaintiff further objects to this Interrogatory to the extent that it seeks

   information already produced to Defendants in connection with the proceeding before the

   Trademark Trial and Appeal Board, Proceeding No. 92059947.

       Subject to the foregoing objections and the General Objections, documents relating to

   Plaintiff’s advertising expenditures for its ZENÚ and RANCHERA marks, to the extent that such

   documents were not previously produced to Defendants in the proceeding before the TTAB, will

   be produced in response to Defendants’ First Set of Requests for Production of Documents.




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       6.      State in detail any searches or investigations which were conducted by Plaintiff, its

   attorneys, or any persons on its behalf to determine whether the “ZENÚ” marks were available

   for use and/or registration at time of filing, separately for in the United States and in other

   international territories, specifically, identifying each such search or investigation including the

   date such search or investigation was performed and the marks located in such search or

   investigation.

   Response:

       Plaintiff objects to this Interrogatory as overly broad, unduly burdensome, vague and

   ambiguous. Plaintiff further objects to this Interrogatory as irrelevant to the issues in this

   proceeding and not reasonably calculated to lead to the discovery of admissible evidence.

   Plaintiff further objects to this Interrogatory to the extent that it seeks the disclosure of

   information protected by the attorney-client privilege both under federal law and pursuant to

   N.J.S.A. 2A:84-A-20 and will be withholding relevant information on these grounds.

       Subject to the foregoing objections and the General Objections, Plaintiff states that, outside

   of privileged searches conducted by its attorneys, no other searches or investigations into the

   U.S. or Colombian registrations of ZENÚ was conducted.



       7.      Identify all manufacturers or intended manufacturers of goods, and all promoters or

   intended promoters of goods, bearing the Plaintiff’s Cancelled Marks and/or Plaintiff’s ZENÚ

   Application, separately for in the United States and in other international territories. Including,

   without limitation, the third-parties Plaintiff asserts in Paragraph 22 of its Amended Complaint,

   stating that “[f]or several years, Plaintiff has obtained and packaged some of its products in the

   United States. These products are then exported for sale in Colombia.”

   Response:


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      Plaintiff objects to this interrogatory as compound and rendering Defendants’ interrogatories

   to be in excess of the limit contained in Fed. R. Civ. P. 33(a)(1). Plaintiff further objects to this

   Interrogatory as overly broad and unduly burdensome. Plaintiff further objects to this

   Interrogatory to the extent that it seeks information which is not relevant to the claim or defense

   of any party or reasonably calculated to lead to the discovery of admissible evidence. Plaintiff

   further objects to this Interrogatory as vague, ambiguous, and not susceptible to a reasoned

   interpretation. Plaintiff cannot reasonably respond to this Interrogatory as phrased.



      8.       Identify all documents and set forth with specificity all facts with respect to any

   instance where a person or entity in the United States and separately for in other foreign

   territories, has been confused, mistaken, and/or deceived as to whether any goods or services

   advertised or sold under Plaintiff’s Cancelled Marks are those of Defendant, or are connected or

   associated with Defendant, and for each such incident provide the date of such incident, the

   identity of the person or entity, and a detailed description of the circumstances of such confusion,

   mistake and/or deception.

   Response:

      Plaintiff objects to this Interrogatory as overly broad, unduly burdensome and not reasonably

   limited in scope. Plaintiff further objects to this Interrogatory to the extent that it seeks

   information already produced to Defendants in connection with the proceeding before the

   Trademark Trial and Appeal Board, Proceeding No. 92059947.

      Subject to the foregoing objections and the General Objections, Plaintiff states that at least

   one consumer has contacted Plaintiff’s distributor located in Miami, Florida based upon the

   mistaken belief that Defendants’ ZENÚ products were those of Plaintiff. A recording of this

   phone call was produced in connection with the TTAB proceeding. In addition, a consumer


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   named Juana Solorzano inquired on Facebook whether the ZENÚ products she was encountering

   in the United States were the authentic ZENÚ products as those sold by Plaintiff in Colombia.



       9.      Identify all inquiries, investigations, surveys, evaluations and/or studies conducted

   separately for the United States and other international territories, by Plaintiff or by anyone

   acting for or on its behalf, with respect to Plaintiff’s ZENÚ Application, and marks owned or

   used by Plaintiff which incorporate the term “ZENÚ” as an element of the mark, including the

   date conducted, the name, address and title of each person who conducted it, the purpose for

   which it was conducted, the findings or conclusions made, and identify all documents which

   record, refer to, or relate to such inquiry, investigation, survey, evaluation or study.

   Response:

       Plaintiff objects to this Interrogatory as overly broad, unduly burdensome, and virtually

   unlimited in scope. Plaintiff further objects to this Interrogatory to the extent that it seeks the

   disclosure of information protected by the attorney-client privilege both under federal law and

   pursuant to N.J.S.A. 2A:84-A-20. Plaintiff cannot reasonably respond to this Interrogatory as

   phrased.



       10.     Identify all inquiries, investigations, surveys, evaluations and/or studies conducted

   separately for the United States and other international territories, by Plaintiff or by anyone

   acting for on its behalf with respect to Plaintiff’s fame and assertions that Plaintiff’s Marks are

   among the most well-known trademarks for sausages and meat products in the United States and

   in other foreign territories (including, specifically, any website analytics demonstrating United

   States visitors).

   Response:


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               Plaintiff objects to this Interrogatory to the extent the use of “Plaintiff’s Marks” is

   overbroad and unduly burdensome. Plaintiff further objects to this Interrogatory to the extent

   that it is overbroad and unduly burdensome because it is virtually unlimited in scope. Plaintiff

   further objects to this Document Request to the extent that it seeks documents already produced

   to Defendants in connection with the proceeding before the Trademark Trial and Appeal Board,

   Proceeding No. 92059947.

      Subject to the foregoing objections and the General Objections, documents establishing

   consumer recognition of the ZENÚ and RANCHERA brands to the extent such documents were

   not previously produced to Defendants in the proceeding before the TTAB, will be produced in

   response to Defendants’ First Set of Requests for Production of Documents.



      11.      Separately identify for the United States and other international territories, each

   person employed by Plaintiff, or each outside agency or agent retained by Plaintiff, who has been

   or now is responsible for (a) marketing, (b) advertising and promotion, and (c) bookkeeping and

   accounting, with respect to any of the goods or services intended to be offered, or rendered, or

   actually offered under marks included in Plaintiff’s ZENÚ Application and Plaintiff’s Marks.

   Response:

      Plaintiff objects to this Interrogatory to the extent that it is overbroad, unduly burdensome

   and oppressive. Plaintiff further objects to this Interrogatory to the extent that it seeks

   information which is not relevant to the claim or defense of any party or reasonably calculated to

   lead to the discovery of admissible evidence. Plaintiff further objects to this Interrogatory for its

   use of “Plaintiff’s Marks” as it is overbroad and encompasses a large number of brands not at

   issue in this litigation. Plaintiff cannot reasonably respond to this Interrogatory as phrased.




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       12.     State in detail the channels of trade in which Plaintiff’s Marks are used and/or in

   which goods bearing Plaintiffs Marks are sold, including the geographic area by country,

   territory, and state in which Plaintiffs Marks are used and/or sold, the manner in which the goods

   or services reach the ultimate consumer, the geographical reach of each such channel, and the

   approximate percentage of total sales of goods and/or services through each such channel, and

   identify documents sufficient to support your response to this Interrogatory.

   Response:

       Plaintiff objects to this Interrogatory to the extent that it is overbroad, unduly burdensome

   and oppressive. Plaintiff further objects to this Interrogatory to the extent that it is vague and

   ambiguous. Plaintiff further objects to this Interrogatory to the extent that it seeks information

   which is not relevant to the claim or defense of any party or reasonably calculated to lead to the

   discovery of admissible evidence. Plaintiff further objects to this Interrogatory for its use of

   “Plaintiff’s Marks” as it is overbroad and encompasses a large number of brands not at issue in

   this litigation. Plaintiff further objects to this Interrogatory to the extent that it seeks information

   already produced to Defendants in connection with the proceeding before the Trademark Trial

   and Appeal Board, Proceeding No. 92059947.

       Subject to the foregoing objections and the General Objections, Plaintiff states that it

   currently distributes its food products under its ZENÚ and RANCHERA marks in Colombia,

   South America.



       13.     Identify with specificity the marketing methods used or intended to be used, in the

   advertising and/or sale of goods and/or services by or for Plaintiff under Plaintiffs Marks,

   separately for in the United States and in other international territories, including, without

   limitation, the names of television stations, radio stations, Internet web sites, newspapers,


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   magazines, trade journals or periodicals, and/or retail establishments in which Plaintiff has

   advertised and intends to advertise its goods and/or services under Plaintiffs ZENÚ Application

   or Plaintiff’s Cancelled Marks, including all marks incorporating the term “ZENÚ,” and identify

   documents sufficient to support your response to this Interrogatory.

   Response:

            Plaintiff objects to this Interrogatory as overly broad, unduly burdensome and not

   reasonably limited in scope. Plaintiff further objects to this Interrogatory to the extent that it

   seeks information which is not relevant to the claim or defense of any party or reasonably

   calculated to lead to the discovery of admissible evidence. Plaintiff further objects to this

   Interrogatory to the extent that it is vague and ambiguous. Plaintiff further objects to this

   Interrogatory to the extent that it seeks information already produced to Defendants in

   connection with the proceeding before the Trademark Trial and Appeal Board, Proceeding No.

   92059947.

            Subject to the foregoing objections and the General Objections, Plaintiff will produce

   examples of its ZENÚ advertising in response to Defendants’ First Set of Requests for

   Production of Documents. Plaintiff has also advertised and promoted its “ZENÚ” products in

   the United States, using at least the following methods:

               Plaintiff’s website at http://www.zenu.com.co;
               Trade shows, including the Miami Food and Beverage Show.


      14.       Separately identify for the United States and other international territories, the

   ordinary purchaser of the goods and/or services sold and intended to be sold under marks

   included in Plaintiffs ZENÚ Application and/or Plaintiff’s Marks including, without limitation,




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   the level of care exercised by such an ordinary purchaser in purchasing the goods or services sold

   under such mark.

   Response:

                 Plaintiff objects to this Interrogatory to the extent that it is vague and ambiguous.

   Plaintiff further objects to this Interrogatory to the extent it calls for expert opinions regarding

   consumers and consumer behavior. Plaintiff further objects to this Interrogatory to the extent

   that it seeks information already produced to Defendants in connection with the proceeding

   before the Trademark Trial and Appeal Board, Proceeding No. 92059947. Plaintiff further

   objects to this Interrogatory for its use of “Plaintiff’s Marks” as it is overbroad and encompasses

   a large number of brands not at issue in this litigation. Plaintiff cannot reasonably respond to this

   Interrogatory as phrased.



       15.       Identify all documents relating to and set forth with specificity all facts regarding any

   instance, separately for in the United States and in other international territories, where Plaintiff

   has notified anyone that any trademark or service mark used by that person or entity infringed

   Plaintiffs ZENÚ Application or Plaintiff’s Cancelled Marks (whether before or after

   cancellation) and for each such instance provide a detailed description of any action taken

   thereafter.

   Response:

       Plaintiff objects to this Interrogatory on the basis that it is irrelevant and not reasonably

   calculated to lead to the discovery of admissible evidence. Plaintiff further objects to this

   Interrogatory to the extent that it seeks information already produced to Defendants in

   connection with the proceeding before the Trademark Trial and Appeal Board, Proceeding No.

   92059947.


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      Subject to the foregoing objections and the General Objections, Plaintiff states that it is not

   aware of any instances of infringement of its ZENÚ Mark in the United States, other than

   Defendants’ infringement.



      16.      State the date upon which Plaintiff became aware of Defendant and aware of

   Defendant’s goods offered under Defendant’s Marks, as well as state in detail how Plaintiff

   became aware of Defendant.

   Response:

      Plaintiff objects to this Interrogatory to the extent that it is vague and ambiguous. Plaintiff

   further objects to this Interrogatory to the extent that it seeks the disclosure of information

   protected by the attorney-client privilege both under federal law and pursuant to N.J.S.A. 2A:84-

   A-20.

      Subject to the foregoing objections and the General Objections, Plaintiff states that it became

   aware of Defendants’ goods bearing the ZENÚ mark in or around October 2013 when a

   representative of Marquillas S.A. informed Plaintiff that an individual had asked for a quote on

   ZENÚ packaging. Plaintiff was also contacted by a representative of Miami Intex International

   to complain about the handling of the ZENÚ products it was receiving from Defendants

   presuming that there was an association between Defendants and Plaintiff. Defendants’ use of

   the ZENÚ mark was further confirmed Plaintiff further states that it became aware of Defendants

   after further investigation into the ZENÚ products being sold in the United States.



      17.      State in detail any supporting information, including identifying all related

   documents, in connection with allegations in Plaintiff’s Amended Complaint that Wilson

   Zuluaga “has fraudulently registered the ZENÚ mark in the United States and unsuccessfully


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   attempted to do the same with the RANCHERA mark, in an obvious ploy to mislead consumers

   into believing that Defendants’ products are the same ZENÚ and RANCHERA products that

   consumers are familiar with in Colombia.”

   Response:

       Plaintiff objects to this Interrogatory to the extent that it is vague and ambiguous. Subject to

   the foregoing objections and the General Objections, Plaintiff states that the background on this

   general and overarching allegation is detailed in Plaintiff’s Amended Complaint, including that

   Mr. Zuluaga has (i) registered or attempted to register the ZENÚ and RANCHERA marks using

   specimens that are similar or identical to Plaintiff’s packaging and (ii) swore that he believed his

   company was entitled to exclusive use of these marks, when Plaintiff believes discovery will

   demonstrate that Defendants were well aware of Plaintiff’s ZENÚ and RANCHERA marks.

   Moreover, Defendants have employed packaging that is similar or identical to Plaintiff’s trade

   dress and copyrighted packaging, thereby likely misleading consumers into believing

   Defendants’ products are the same ZENÚ and RANCHERA products that consumers are

   familiar with in Colombia. Plaintiff reserves the right to supplement this response should

   additional information be disclosed in discovery.



       18.     State in detail any supporting information, including identifying the name and contact

   information of the “provider” and all other related documents, in connection with allegations in

   Paragraph 72 of Plaintiff’s Amended Complaint that Defendant has attempted to “procure

   400,000 of Plaintiff’s labels from Plaintiff’s own ZENÚ label provider in Medellín, Colombia.

   It was this provider that alerted Plaintiff to the suspicious order and brought Defendants’ scheme

   to Plaintiff’s attention.”

   Response:


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      Plaintiff objects to this Interrogatory to the extent that it seeks information protected by the

   attorney-client privilege and the work-product doctrine as recognized under federal law and

   pursuant to N.J.S.A. 2A:84A-20 and will be withholding information on these grounds. Subject

   to the foregoing objection and the General Objections, Plaintiff states that label provider

   referenced in the Amended Complaint is Marquillas S.A.



      19.      State in detail any supporting information, including identifying all related

   documents, in connection with allegations in Paragraph 45 Plaintiff’s Amended Complaint that

   Defendant “has promoted [the company] as an importer of Colombian products. Mr. Zuluaga

   has remarked that the company’s goal is to “become the most reliable importer for food and

   specialty products from South and Central America.” In this vein, Defendants have touted that

   they possess “exclusive distribution importing rights agreement for the tri-state area” with a

   major product manufacturer in Colombia.”

   Response:

      Plaintiff objects to this Interrogatory to the extent it seeks documents that are publicly

   available and therefore equally accessible to Defendants. Subject to the foregoing objections and

   the General Objections, Plaintiff refers Defendants to the article located at:

   https://www.sba.gov/offices/district/ny/new-york/success-stories/second-business-rises-brothers-

   bakery. Plaintiff reserves the right to supplement this response should additional information be

   disclosed in discovery.




      20.      State in detail any supporting information, including identifying all related

   documents, in connection with allegations in Plaintiff’s Amended Complaint that Defendant has



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   “been selling what, upon information and belief, are sub-par meat products bearing the

   RANCHERA mark, and thereby adversely affecting the future market for Plaintiff’s

   RANCHERA products.”

   Response:

      Plaintiff objects to this Interrogatory to the extent that it seeks information protected by the

   attorney-client privilege and the work-product doctrine as recognized under federal law and

   pursuant to N.J.S.A. 2A:84A-20 and will be withholding information on these grounds. Plaintiff

   further objects to this Interrogatory to the extent that it seeks information that is already in

   Defendants’ possession. Plaintiff reserves the right to supplement this response should

   additional information be disclosed in discovery.



      21.      State in detail any supporting information, including identifying all related

   documents, in connection with allegations in Paragraph 43 of Plaintiff’s Complaint that Wilson

   Zuluaga “launched Latinfood as a result of his observation that there was a demand for specialty

   products from Colombia in the tri-state area, which is home to a large population of Colombian-

   Americans.”

   Response:

      Plaintiff objects to this Interrogatory to the extent it seeks documents that are publicly

   available and therefore equally accessible to Defendants. Subject to the foregoing objections and

   the General Objections, Plaintiff refers Defendants to the article located at:

   https://www.sba.gov/offices/district/ny/new-york/success-stories/second-business-rises-brothers-

   bakery. Plaintiff reserves the right to supplement this response should additional information be

   disclosed in discovery.




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      22.      State in detail any supporting information, including identifying all related

   documents, in connection with allegations in Paragraph 83 of Plaintiff’s Complaint that

   Defendant’s sales representatives “advise store owners that Latinfood has full rights to the

   distribution of ZENÚ- and RANCHERA- marked products. Those who engage with the

   Latinfood sales representatives are led to believe they are buying products from the same source

   as Plaintiff’s products from Colombia.”

   Response:

      Plaintiff objects to this Interrogatory to the extent that it seeks information protected by the

   attorney-client privilege and the work-product doctrine as recognized under federal law and

   pursuant to N.J.S.A. 2A:84A-20 and will be withholding information on these grounds. Plaintiff

   further objects to this Interrogatory to the extent that it seeks information that is already in

   Defendants’ possession.

      Subject to the foregoing objections and the General Objections, Plaintiff states that in

   December 2014 Mr. John Joiro, who identified himself as a Latinfood sales person stated that

   Latinfood had full rights to distribute the ZENÚ product line. Plaintiff further states that several

   store owners that offer Defendants’ products for sale appear to believe the carry the ZENÚ

   product line from Colombia. Plaintiff reserves the right to supplement this response should

   additional information be disclosed in discovery.



      23.      If Plaintiff has ever been a party to any litigation or administrative proceeding in the

   United States and in other international territories, other than the present court proceeding,

   involving Plaintiffs Marks, including marks incorporating the term “ZENÚ,” state all

   circumstances surrounding same, including, without limitation, the name of the parties and


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   identification of the proceeding, Plaintiffs status therein, the mark or marks involved, the type of

   proceeding involved, the name of the court or agency in which it was filed, the date of the filing

   and the file number, the ultimate disposition of the proceedings, and identify each document

   relating to such proceeding.

   Response:

            Plaintiff objects to this Interrogatory as overly broad and unduly burdensome. Plaintiff

   further objects to this Interrogatory as irrelevant and not reasonably calculated to lead to the

   discovery of admissible evidence. Plaintiff further objects to this Interrogatory as seeking public

   information as accessible to Defendants as it is to Plaintiff. Plaintiff further objects to this

   Interrogatory to the extent that it seeks information already produced to Defendants in

   connection with the proceeding before the Trademark Trial and Appeal Board, Proceeding No.

   92059947. Subject to the foregoing objections and the General Objections, Plaintiff states it

   opposed Defendants’ application for the mark “ZENU” (stylized) on November 25, 2014,

   Opposition No. 91219494, in which Defendants defaulted. The Notice of Default was issued on

   January 20, 2015, and judgment entered against Defendants by the TTAB on March 5, 2015.

   Additionally, Plaintiff’s affiliate, Industrias Alimenticias Noel S.A., filed an opposition

   proceeding on September 29, 1988 to an application for “ZENA”, which had been filed by

   Complejo Pesquero Industrial del Mayab, S.A. de C.V.



      24.      Identify and state in detail how Plaintiff has allegedly been damaged by Defendant’s

   use of Defendant’s Marks in the United States.

   Response:

      Subject to the General Objections, Plaintiff states it has been damaged by Defendants’ use of

   the ZENÚ mark in the United States because Plaintiff is not able to offer its ZENÚ products for


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   sale in the United States and therefore loses sales revenues. Plaintiff further states that it is

   damaged because consumers will assume that Defendants’ products are those of Plaintiff and

   Plaintiff is not able to control or monitor the quality of Defendants’ products and hold them to

   the same high standards of its own ZENÚ products, and accordingly, faces an adverse impact on

   its goodwill. Plaintiff reserves the right to supplement this response should any further damage

   be uncovered in discovery.



      25.      Identify each person who participated in or supplied information used in answering

   any of the above Interrogatories; beside the name of each such person, state the number of the

   Interrogatory answer(s) with respect to which that person participated in or supplied information.

   Response:

      Plaintiff objects to this Interrogatory to the extent that it seeks the disclosure of information

   protected by the attorney-client privilege both under federal law and pursuant to N.J.S.A. 2A:84-

   A-20. Subject to the foregoing objections and the General Objections, Plaintiff identifies the

   following individuals as having assisted in the answering of interrogatories: Peter Raymond and

   Sarah Levitan of Reed Smith LLP; Juan Felipe Acosta of OlarteMoure, external counsel for

   Plaintiff; Verónica Velásquez, In-House Intellectual Property Lawyer for Servicios Nutresa S.A.;

   and Juan David Villa, Manager of Market Development.




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   Dated: New York, New York
          August 9, 2017                        REED SMITH LLP


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         d/b/a Zenú Products Co. (“Latinfood”) and
         Wilson Zuluaga




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